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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
                                                          Order Filed on September 21, 2023
                                                          by Clerk
                                                          U.S. Bankruptcy Court
   Caption in Compliance with D.N.J. LBR 9004-1(B)        District of New Jersey


   Alla Kachan, Esq.
   Law Offices of Alla Kachan, P.C.
   2799 Coney Island Avenue, Ste 202
   Brooklyn, NY 11235
   Tel.: (718) 513-3145

   In Re:                                             Case No.:       22-14771-VFP

   Produce Depot USA LLC,                             Judge:         Vincent F. Papalia
                              Debtor
                                                      Chapter:        11


                                       FINAL DECREE




 DATED: September 21, 2023
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       Upon the application of Produce Depot USA LLC, dated August 17, 2023 (the

"Application"), by its Attorneys, Law Offices of Alla Kachan, P.C., for an Order granting a Final

Decree in this case; and it having been represented and it appearing that the estate of the Debtor

has been fully administered pursuant to the confirmed Plan of Reorganization of

Produce Depot USA LLC. (the "Plan"); and it also appearing that notice of the submission of the

Application and service of a copy thereof was duly and timely made upon the Office of the United

States Trustee and that no objection was made to granting the relief requested therein, and

sufficient cause appearing to me therefor, it is

       ORDERED, that the Application is granted as set forth herein; and it is further

       ORDERED, pursuant to Bankruptcy Rule 3022 and 11 U.S.C. § 350(a), that the above-

captioned be and hereby is closed upon entry of this Final Decree; and it is further

       ORDERED, that not later than ten (10) days from the entry of this order, the Debtor shall

 file with the Court any unfiled monthly operating report(s) for pre-effective date periods and the

 appropriate post confirmation report(s) and shall pay the United States Trustee the appropriate

 sums required pursuant to 28 U.S.C. § 1930(a)(6) (and any applicable interest thereon).
